     Case 3:16-cv-00565-L Document 24 Filed 07/28/16                Page 1 of 3 PageID 400


                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

WESTERN HEALTHCARE, LLC,                         §
                                                 §
                 Plaintiff,                      §
v.                                               §    Civil Action No. 3:16-CV-565-L
                                                 §
NATIONAL FIRE AND MARINE                         §
INSURANCE COMPANY, et al.,                       §
                                                 §
                 Defendants.                     §

                                             ORDER

       On June 30, 2016, Magistrate Judge David L. Horan entered the Findings, Conclusions and

Recommendation of the United States Magistrate Judge (“Report”) recommending that the court

grant Plaintiff Western Healthcare LLC’s Motion to Remand (Doc. 7), filed March 28, 2016, and

remand this case to the 68th Judicial District Court, Dallas County, Texas. Defendants filed

objections to the Report.

       Having reviewed the motion, response, reply, pleadings, file, and record in this case, and

Report, and having conducting a de novo review of that portion of the Report to which objection was

made, the court determines that the findings and conclusions of the magistrate judge are correct, and

accepts them as those of the court. Accordingly, the court determines that it lacks subject matter

jurisdiction over this action, overrules Defendants’ objections, grants Plaintiff Western Healthcare

LLC’s Motion to Remand (Doc. 7), and remands the case to the 68th Judicial District Court, Dallas

County, Texas, from which it was removed. The clerk of the court shall effect the remand in

accordance with the usual procedure.




Order – Page 1
    Case 3:16-cv-00565-L Document 24 Filed 07/28/16                   Page 2 of 3 PageID 401


        Further, although not addressed in the Report, the court determines that Plaintiff is entitled

to recover its reasonable attorney’s fees and costs incurred as a result of the removal. Plaintiff seeks

attorney’s fees and costs incurred for obtaining a remand of this action to state court pursuant to 28

U.S.C. § 1447(c). Section 1447(c) provides that “[a]n order remanding the case may require payment

of just costs and any actual expenses, including attorney fees, incurred as a result of the removal.”

28 U.S.C. § 1447(c). There is no “automatic entitlement to an award of attorney’s fees.” Valdes v.

Wal–Mart Stores, Inc., 199 F.3d 290, 292 (5th Cir. 2000). Bad faith is not “a prerequisite to

awarding attorney fees and costs.” Id. (citation omitted). “Absent unusual circumstances, courts

may award attorney’s fees under § 1447(c) only where the removing party lacked an objectively

reasonable basis for seeking removal. Conversely, when an objectively reasonable basis exists, fees

should be denied.” Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005) (citations omitted).

In this regard, the court must decide “whether the defendant had objectively reasonable grounds to

believe the removal was legally proper” at the time of removal, “irrespective of the fact that it might

ultimately be determined that removal was improper.” Valdes, 199 F.3d at 293.

        The law regarding diversity of citizenship, improper joinder, and Plaintiff’s claims is well

established, and the court determines, based on the magistrate judge’s findings and conclusions, that

no objectively reasonable grounds existed to remove this action. Plaintiff is, therefore, entitled to

recover its reasonable attorney’s fees and costs incurred for Defendants’ removal of this action to

federal court. If Plaintiff wishes to pursue its request to recover reasonable attorney’s fees and costs

pursuant to 28 U.S.C. § 1447(c), and the parties are unable to reach agreement regarding the amount

of attorney’'s fees and costs, Plaintiff must file a fee application with supporting documentation for

the court’s consideration by August 28, 2016. The parties are strongly admonished to reach



Order – Page 2
    Case 3:16-cv-00565-L Document 24 Filed 07/28/16                Page 3 of 3 PageID 402


agreement on the amount of attorney’s fees, as “[a] request for attorney’s fees should not result in

a second major litigation.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (emphasis added).

       It is so ordered this 28th day of July, 2016.


                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




Order – Page 3
